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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3025
          v.                        )
                                    )
LILLIAN RUIZ,                       )
                                    )                    ORDER
                Defendants.         )
                                    )



     IT IS ORDERED:

     The oral motion of counsel for the defendant is granted and
the initial appearance on the Petition for Action on Conditions
of Pretrial Release is continued from August 8 to August 16, 2005
at 1:30 p.m.

     DATED this 2nd day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
